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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                WESTERN DIVISION


 KENNETH H. GAASCH, as next friend
 and surviving spouse of GAIL MARIE GAASCH,

        Plaintiffs,
 v.                                                                No. 2:09- cv-02270-tmp

 MARK P. MILLER, M.D.,

        Defendants.


                                     ORDER OF DISMISSAL
 __________________________________________________________________

        Pursuant to the Joint Motion for Order of Dismissal of Plaintiff and Defendant Mark P.

 Miller, M.D., signed by Plaintiff Kenneth H. Gaasch and Defendant Mark P. Miller, M.D. (D.E.

 292), filed February 17, 2012, it is hereby

        ORDERED that Defendant Mark P. Miller, M.D. is hereby dismissed with prejudice

 from the above referenced action.

        Mark P. Miller, M.D. being the sole remaining Defendant in this action, it is further

 ORDERED that this action is hereby dismissed with prejudice in its entirety.




                                                    s/George Caram Steeh
                                                    United States District Judge
        Dated: March 12, 2012
